   Fill in this information to identify the case:
   Debtor 1         Angela Anessa Jamerson
   Debtor 2
                    (Spouse, if filing)
   United States Bankruptcy Court for the Middle District of Pennsylvania
                                                               (State)
   Case number: 1:17-bk-02721-HWV




Official Form 410S1

Notice of Mortgage Payment Change                                                                                                               12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal
residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1

 Name of Creditor: Nationstar Mortgage LLC d/b/a Mr. Cooper                         Court Claim No. (if known): 5

 Last four digits of any number                                                     Date of Payment Change:
 you use to identify the debtor's                6625
 account:                                                                           Must be at least 21 days after date of         May 1, 2021
                                                                                    this notice.

                                                                                    New total payment:
                                                                                                                                   $2,276.84
                                                                                    Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 Will there be a change in the debtor's escrow account payment?

       No.
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
       the basis for the change. If a statement is not attached, explain why:




              Current escrow payment: $954.13                                       New escrow payment: $904.92
 Part 2:         Mortgage Payment Adjustment

 Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate account?

      No.
      Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
      attached, explain why:


              Current interest rate:                                                New interest rate:

              Current principal and interest payment:                               New principal and interest payment:
 Part 3:         Other Payment Change

 Will there be a change in the debtor’s mortgage payment for a reason not listed above?

     No
     Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
      (Court approval may be required before the payment change can take effect.)
          Reason for change:

              Current mortgage payment:                                             New mortgage payment:




Official Form 410S1
           Case  1:17-bk-02721-HWV                            NoticeFiled
                                                            Doc      of Mortgage PaymentEntered
                                                                          03/10/21       Change 03/10/21 14:23:31                         Desc Page 1
                                                            Main Document         Page 1 of 7
Debtor 1          Angela Anessa Jamerson                                                 Case number: _1:17-bk-02721-HWV_____________
                  First Name             Middle Name             Last Name




 Part 4:           Sign Here

 The person completing this notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box

       I am the creditor.
       I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information in this Notice is true and correct to the best of my knowledge,
 information, and reasonable belief.

 X         /s/ Christopher A. DeNardo                                                Date:     3/10/2021
           Signature



                        Christopher A. DeNardo 78447
 Print:                 Kristen D. Little 79992                                      Title Attorney
                        First Name                Middle Name           Last Name


 Company                LOGS Legal Group LLP


 Address                3600 Horizon Drive, Suite 150
                        Number           Street


                        King of Prussia, PA 19406
                        City                                    State     ZIP Code




 Contact phone          (610) 278-6800                                               Email logsecf@logs.com




           Case 1:17-bk-02721-HWV                          Doc Filed 03/10/21 Entered 03/10/21 14:23:31                         Desc
                                                           Main Document   Page 2 of 7
                                                  Certificate of Service

I hereby certify that a copy of the foregoing Response to Notice of Mortgage Payment Change was served on the parties listed
below by postage prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address
registered with the Court on this Date:

Date: ___3/10/2021__________________________



Chapter 13 Trustee: Charles J. DeHart, III
Trustee Address: 8125 Adams Drive, Suite A, Hummelstown, PA 17036
Trustee Email: dehartstaff@pamd13trustee.com


Debtor's Counsel Name: Kara Katherine Gendron, Esquire
Debtor's Counsel Address: Mott & Gendron Law, 125 State Street, Harrisburg, PA 17101
Debtor's Counsel Email: karagendronecf@gmail.com


Debtor's Name: Angela Anessa Jamerson
Debtor's Mailing Address: 154 Spring Meadows Road, Manchester, PA 17345




                                                                         /s/ Abbie Dial
                                                                         Christopher A. DeNardo 78447
                                                                         Kristen D. Little 79992
                                                                         LOGS Legal Group LLP
                                                                         3600 Horizon Drive, Suite 150
                                                                         King of Prussia, PA 19406
                                                                         (610) 278-6800
                                                                         logsecf@logs.com
                                                                         19-062015




        Case 1:17-bk-02721-HWV               Doc Filed 03/10/21 Entered 03/10/21 14:23:31                           Desc
                                             Main Document   Page 3 of 7
                                                                                  02/03/2021                OUR INFO
                                    RETURN SERVICE ONLY                                                     ONLINE
                                    PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                    PO Box 818060                                                           www.mrcooper.com
                                    5801 Postal Road
                                    Cleveland, OH 44181

                                                                                                            YOUR INFO
                                                                                                            CASE NUMBER
                                                                                                            1702721

                                                                                                            LOAN NUMBER
ANGELA JAMERSON
154 SPRING MEADOWS RD
                                                                                                            PROPERTY ADDRESS
MANCHESTER,PA 17345
                                                                                                            154 SPRING MEADOWS RD
                                                                                                            MANCHESTER,PA 17347




Dear ANGELA JAMERSON,

Why am I receiving this letter?
An escrow analysis was performed on the above referenced account.

What do I need to know?
Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
statement is for informational purposes only and should not be construed as an attempt to collect a debt.

What do I need to do?
If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such attorney and provide such
attorney’s name, address and telephone number to us.

If you have any questions, please call us at 877-343-5602. Our hours of operation are Monday through Friday from 8 a.m. to 5 p.m.
(CT). Visit us on the web at www.mrcooper.com for more information.

Sincerely,

Mr. Cooper
Bankruptcy Department

Enclosure: Escrow Account Disclosure Statement




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to collect a
debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property securing the loan
obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an
attempt to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an
attempt to collect a debt from you personally.

          Case 1:17-bk-02721-HWV                     Doc Filed 03/10/21 Entered 03/10/21 14:23:31                                      Desc DOL
                                                     Main Document   Page 4 of 7
Case 1:17-bk-02721-HWV   Doc Filed 03/10/21 Entered 03/10/21 14:23:31   Desc
                         Main Document   Page 5 of 7
                                                                                                    Escrow Account Disclosure Statement
                                        RETURN SERVICE ONLY
                                        PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                        PO Box 818060                                               Customer Service: 888-480-2432
                                        5801 Postal Road
                                        Cleveland, OH 44181                                         Monday through Thursday from 7 a.m. to 8 p.m. (CT),
                                                                                                    Friday from 7 a.m. to 7 p.m. (CT) and Saturday from 8 a.m.
                                                                                                    to 12 p.m. (CT)

                                                                                                    Tax /Insurance: 866-825-9267
                                                                                                    Monday through Thursday from 8 a.m. to 9 p.m. (ET),
                                                                                                    Friday from 8 a.m. to 7 p.m. (ET) and Saturday from 9 a.m.
                                                                                                    to 3 p.m. (ET)
ANGELA JAMERSON
154 SPRING MEADOWS RD                                                                               Your Loan Number:
MANCHESTER,PA 17345                                                                                 Statement Date: 02/03/2021




        Why am I             Mr. Cooper completed an analysis of your escrow account to ensure that the account is funded correctly, determine any surplus or
   receiving this?           shortage, and adjust your monthly payment accordingly. Mr. Cooper maintains an escrow cushion equal to two months' estimated
                             taxes and insurance (unless limited by your loan documents or state law). This measure helps to avoid negative balance in the event
                             of changing tax and insurance amounts.

   What does this            At this time, your Escrow Account has less money than needed and there is a shortage of $0.00. Due to this shortage and changes in
    mean for me?             your taxes and insurance premiums, your monthly escrow payment will decrease by ($49.21). Eﬀective 05/01/2021, your
                             new total monthly payment** will be $2,276.84.
                                                                          Current Monthly                                                           New Monthly
  Total Payment                                                                                            Payment Changes
                                                                                 Payment                                                                Payment
  PRINCIPAL AND INTEREST                                                          $1,371.92                                 $0.00                        $1,371.92
  ESCROW                                                                           $954.13                                ($49.21)                        $904.92
  Total Payment                                                                 $2,326.05                                ($49.21)                      $2,276.84
  See below for shortage calculation
 What is a Shortage? A shortage is the diﬀerence between the lowest projected balance of your account for the coming year and your minimum
 required balance. To prevent a negative balance, the total annual shortage is divided by 12 months and added to your monthly escrow payment, as shown
 below.


                    Minimum Required Balance                                                                      Lowest Projected Balance
                           $1,809.84                                                                                       $1,809.84


                                                                         $0.00 / 12 = $0.00
                                    Please see the Coming Year Projections table on the back for more details
  Escrow Payment                                                               Current Annual                                                 Anticipated Annual
                                                                                                                  Annual Change
  Breakdown                                                                     Disbursement                                                       Disbursement
  SCHOOL TAX                                                                          $6,785.36                                ($0.15)                   $6,785.21
  TOWN TAX                                                                            $1,834.35                                $26.39                    $1,860.74
  HAZARD SFR                                                                          $2,829.84                              ($616.77)                   $2,213.07
  Annual Total                                                                      $11,449.55                             ($590.53)                   $10,859.02
If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing authority or insurance provider. For more
information about your loan, please sign in at www.mrcooper.com.




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to
collect a debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property
securing the loan obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication
shall be construed as an attempt to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the loan)
that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an attempt to
collect a debt from you personally.




                                                    This Area Intentionally Left Blank
                                                    This statement is for informational purposes only.




           Case 1:17-bk-02721-HWV                          Doc Filed 03/10/21 Entered 03/10/21 14:23:31                                               Desc
                                                                                                                                                                           SHRT
                                                           Main Document   Page 6 of 7
The change in your escrow payment** may be based on one or more of the following factors:
PAYMENT(S)                                                TAXES                                               INSURANCE
● Monthly payment(s) received were less than              ● Tax rate and/or assessed value changed            ● Premium changed
   or greater than expected                               ● Exemption status lost or changed                  ● Coverage changed
● Monthly payment(s) received earlier or later            ● Supplemental/Delinquent tax paid                  ● Additional premium paid
   than expected                                          ● Paid earlier or later than expected               ● Paid earlier or later than expected
● Previous overage returned to escrow                     ● Tax installment not paid                          ● Premium was not paid
● Previous deﬁciency/shortage not paid entirely           ● Tax refund received                               ● Premium refund received
                                                          ● New tax escrow requirement paid                   ● New insurance escrow requirement paid
                                                                                                              ● Force placed insurance premium paid

                                               Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 02/20 through 04/21. This statement itemizes your actual
escrow account transactions since your previous analysis statement or initial disclosure, and projects payments, disbursements, and
balances for the coming year. The projections from your previous escrow analysis are included with the actual payments and disbursements for the prior
year. By comparing the actual escrow payment with the previous projections listed, you can determine where a diﬀerence may have occurred. When applicable,
the letter 'E' beside an amount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.
Projections are included to ensure suﬃcient funds are available to pay your taxes and /or insurance for the coming year.Under Federal
Law (RESPA), the lowest monthly balance in your escrow account should be no less than $1,809.84 or 1/6th of the total annual projected disbursement from
your escrow account, unless your mortgage documents or state law speciﬁes otherwise. Your projected estimated lowest account balance of $1,809.84 will be
reached in August 2021. When subtracted from your minimum required balance of $1,809.84, an Escrow Shortage results in the amount of $0.00. These
amounts are indicated with an arrow (<).

This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcy ﬁling date are included
in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other amounts that will come due after the
ﬁling of your bankruptcy case.

            Projected         Actual            Projected                Actual                      Description                  Projected            Actual
 Month      Payment          Payment          Disbursement            Disbursement                                                  Balance           Balance
                                                                                                        Start                    ($6,483.32)      ($9,771.66)
 02/20         $0.00          $865.93*                     $0.00                 $0.00                                              ($6,483.32)     ($8,905.73)
 02/20         $0.00         $1,092.38*                    $0.00                 $0.00                Esc deposit                   ($6,483.32)      ($7,813.35)
 03/20         $0.00           $354.73                     $0.00            $1,860.74*  *             TOWN TAX                      ($6,483.32)     ($9,319.36)
 03/20         $0.00          $673.27*                     $0.00                 $0.00                Esc deposit                   ($6,483.32)    ($8,646.09)
 04/20         $0.00          $354.73*                     $0.00                 $0.00                                              ($6,483.32)     ($8,291.36)
 04/20         $0.00          $673.27*                     $0.00                 $0.00                Esc deposit                   ($6,483.32)     ($7,618.09)
 05/20         $0.00          $709.46*                     $0.00                 $0.00                                              ($6,483.32)    ($6,908.63)
 05/20      $10,406.29       $954.13*E                     $0.00                 $0.00                 BK ADJ                         $3,922.97    ($5,954.50)
 06/20        $954.13        $1,308.86E                    $0.00                 $0.00                                                $4,877.10     ($4,645.64)
 06/20         $0.00         $1,014.96*                    $0.00                 $0.00                Esc deposit                     $4,877.10     ($3,630.68)
 07/20        $954.13         $954.13E                     $0.00                 $0.00                                                $5,831.23     ($2,676.55)
 07/20         $0.00         $1,035.34*                    $0.00                 $0.00                Esc deposit                     $5,831.23     ($1,641.21)
 08/20        $954.13         $1,308.86                    $0.00             $6,785.21* *            SCHOOL TAX                       $6,785.36      ($7,117.56)
 08/20         $0.00          $974.19*                     $0.00                 $0.00                Esc deposit                     $6,785.36     ($6,143.37)
 09/20        $954.13         $1,663.59                $6,785.36                 $0.00               SCHOOL TAX                         $954.13     ($4,479.78)
 09/20         $0.00          $649.46*                     $0.00                 $0.00                Esc deposit                       $954.13     ($3,830.32)
 10/20        $954.13         $954.13E                     $0.00                 $0.00                                               $1,908.26      ($2,876.19)
 10/20         $0.00          $649.45*                     $0.00                 $0.00                Esc deposit                    $1,908.26      ($2,226.74)
 11/20        $954.13        $1,308.86E                    $0.00                 $0.00                                               $2,862.39         ($917.88)
 11/20         $0.00          $328.34*                     $0.00                 $0.00                Esc deposit                    $2,862.39        ($589.54)
 12/20        $954.13         $1,663.59                $2,829.84                 $0.00               HAZARD SFR                        $986.68        $1,074.05
 12/20         $0.00          $985.02*                     $0.00                 $0.00                Esc deposit                      $986.68        $2,059.07
 01/21        $954.13         $1,308.86                    $0.00            $2,213.07*  *            HAZARD SFR                       $1,940.81       $1,154.86
 01/21         $0.00          $985.02*                     $0.00                 $0.00                Esc deposit                     $1,940.81       $2,139.88
 02/21        $954.13         $954.13E                     $0.00                 $0.00                                               $2,894.94        $3,094.01
 03/21        $954.13          $954.13                     $0.00            $1,860.74E E              TOWN TAX                        $3,849.07       $2,187.40
 04/21        $954.13          $954.13                 $1,834.35                 $0.00                TOWN TAX                       $2,968.85         $3,141.53
 Total      $20,901.72      $25,632.95               $11,449.55             $12,719.76                  Total                       $2,968.85       $3,141.53
            Projected                           Projected                                                                           Current       Required
            Payment                           Disbursement                                           Description                    Balance        Balance
 Month                                                                                                                                            Projected
                                                                                                        Start                      $3,141.53          $3,141.53
 05/21         $904.92                                     $0.00                                                                     $4,046.45         $4,046.45
 05/21        $1,833.84                                    $0.00                                       BK ADJ                        $5,880.29         $5,880.29
 06/21         $904.92                                     $0.00                                                                      $6,785.21         $6,785.21
 07/21         $904.92                                     $0.00                                                                      $7,690.13         $7,690.13
 08/21         $904.92                                 $6,785.21                                     SCHOOL TAX                      $1,809.84        $1,809.84<
 09/21         $904.92                                     $0.00                                                                      $2,714.76         $2,714.76
 10/21         $904.92                                     $0.00                                                                      $3,619.68         $3,619.68
 11/21         $904.92                                     $0.00                                                                     $4,524.60         $4,524.60
 12/21         $904.92                                 $2,213.07                                     HAZARD SFR                       $3,216.45         $3,216.45
 01/22         $904.92                                     $0.00                                                                      $4,121.37         $4,121.37
 02/22         $904.92                                     $0.00                                                                     $5,026.29         $5,026.29
 03/22         $904.92                                 $1,860.74                                      TOWN TAX                       $4,070.47         $4,070.47
 04/22         $904.92                                     $0.00                                                                     $4,975.39         $4,975.39
 Total      $12,692.88                               $10,859.02                                         Total                       $4,975.39         $4,975.39

Bankruptcy Adjustment- The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account Disclosure Statement may
contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion of the escrow funds listed on the proof of claim to
be paid through the Chapter 13 plan. The amount of the credit is calculated and applied to reach the minimum required balance for the escrow account as
allowed under the loan documents and applicable non-bankruptcy law. The credit may not represent the total outstanding amount of escrow funds owed in the
proof of claim but ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be collected through the escrow shortage or
surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of or surplus listed in the Annual Escrow
Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow funds are listed as a credit to reach the required minimum
account balance.
You will receive an Annual Escrow Account Disclosure Statement reﬂecting the actual disbursements at the end of the next escrow analysis cycle. However,
you should keep this statement for your own records for comparison. If a previous escrow analysis statement was sent to you by your previous servicer, please
refer to that statement for comparison purposes. If you have any questions, please call Luis Munoz at 866-316-2432. Our hours of operation are Monday
through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.mrcooper.com for more information.
Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.




           Case 1:17-bk-02721-HWV                        Doc Filed 03/10/21 Entered 03/10/21 14:23:31                                        Desc
                                                         Main Document   Page 7 of 7
